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                                                                  Class
                                                              9

                                                             10                       UNITED STATES DISTRICT COURT

                                                             11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                                             12   LEA REIS on behalf of herself and all      CASE NO.: 8:22-cv-01405-CJC (JDEx)
NYE, STIRLING, HALE & MILLER




                                                                  others similarly situated,                 [Assigned to the Hon. Cormac J.
                         SANTA BARBARA, CALIFORNIA 93101
                         33 WEST MISSION STREET, SUITE 201




                                                             13                                              Carney, Courtroom 9 B]
                                                             14   Plaintiff,
                                                                                                             CONSUMER LEGAL REMEDIES
                                                             15   v.                                         ACT VENUE AFFIDAVIT OF
                                                             16                                              PLAINTIFF LEA REIS
                                                                  HYUNDAI MOTOR AMERICA and
                                                             17   HYUNDAI MOTOR COMPANY,
                                                             18                                              DEMAND FOR JURY TRIAL
                                                                  Defendants.
                                                             19

                                                             20                                              Complaint Filed: July 28, 2022
                                                                                                             Trial Date: None Set
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                                                                                                                       Case No. 8:22-cv-01405-CJC (JDEx)
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           Case 8:22-cv-01405-CJC-JDE Document 13 Filed 08/01/22 Page 2 of 3 Page ID #:52




       1                          IN THE UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
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       3
              LEA REIS on behalf of herself and all
       4
              others similarly situated,                     Case No. 8:22-cv-01405
       5
       6      Plaintiff,

       7      v.                                             CONSUMER LEGAL REMEDIES
                                                             ACT VENUE AFFIDAVIT OF
       8                                                     PLAINTIFF LEA REIS
              HYUNDAI MOTOR AMERICA and
       9      HYUNDAI MOTOR COMPANY,
      10
              Defendants.                                    DEMAND FOR JURY TRIAL
      11
      12
      13
      14             I, Lea Reis, hereby declare and state as follows:
      15             1.      I am over the age of 18 and a Plaintiff in this action. The facts contained
      16    in this declaration are based on my personal knowledge and information that I have
      17    gathered and that is available to me, and if called upon to do so, I could and would
      18    testify to the matters stated herein.
      19             2.      I make this affidavit as required by California Civil Code section
      20    1780(d).
      21             3.      The complaint in this action is filed in the proper place for trial of this
      22    action because Defendant Hyundai Motor America does business in this district and
      23    is headquartered in this district. A substantial portion of the events, acts, and
      24    omissions that are subject to the claims in this matter also occurred in this district.
      25             I declare under penalty of perjury under the laws of the United States that the
      26    foregoing is true and correct.
      27
      28
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           Case 8:22-cv-01405-CJC-JDE Document 13 Filed 08/01/22 Page 3 of 3 Page ID #:53




                        8/1/2022
       1    Executed on ___________________.
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       4                                                     Lea Reis
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